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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 18-cv-21232-UU

 NATIONAL ASSOCIATION OF THE
 DEAF and EDDIE I. SIERRA,

        Plaintiffs,

 v.

 STATE OF FLORIDA, et al.,

        Defendants.
                                                 /

                                              ORDER

        THIS CAUSE is before the Court upon a sua sponte examination of the record. It is hereby

        ORDERED AND ADJUDGED that the parties SHALL file a Joint Status Report no later

 than March 16, 2021. The joint status report shall include:

        1.      A summary of the parties’ claims and defenses;

        2.      An explanation of the nature of the relief sought and the legal basis for such relief;

        3.      A brief summary of facts which are uncontested, or which can be stipulated to

 without discovery;

        4.      A brief summary of the issues as presently known;

        5.      Whether and what discovery has been taken (including whether initial disclosure

 has been made) and if the parties intend to take discovery, a proposed schedule for taking

 discovery;

        6.      Whether the parties anticipate filing dispositive motions and, if so, a proposed

 schedule for the filing of such motions;

        7.      The projected time necessary for trial;
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        8.      Any unique legal or factual aspects of the case requiring special consideration by

 the Court;

        9.      Any potential needs for references to a special master or magistrate;

        10.     The status and likelihood of settlement, including whether the parties have engaged

 in informal settlement negotiations and mediation; and

        11.     Such other matters as may aid the Court in the fair and expeditious administration

 and disposition of this action.

        DONE AND ORDERED in Chambers, Miami, Florida, this 2d day of March, 2021.


                                              __________________________________
                                              URSULA UNGARO
                                              UNITED STATES DISTRICT JUDGE
 Copies furnished:
 All counsel of record
